                                                                      Case 2:13-bk-14135-RK       Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24              Desc
                                                                                                   Main Document     Page 1 of 65



                                                                        1 Victor A. Sahn (CA Bar No. 97299)
                                                                           vsahn@sulmeyerlaw.com
                                                                        2 SulmeyerKupetz
                                                                          A Professional Corporation
                                                                        3 333 South Hope Street, Thirty-Fifth Floor
                                                                          Los Angeles, California 90071-1406
                                                                        4 Telephone: 213.626.2311
                                                                          Facsimile: 213.629.4520
                                                                        5
                                                                          Carolyn A. Dye (CA Bar No. 97527)
                                                                        6 Law Offices of Carolyn A. Dye
                                                                           cdye@cadye.com
                                                                        7 15030 Ventura Boulevard, Suite 527
                                                                          Sherman Oaks, California 91403
                                                                        8 Ph: 818.287.7003
                                                                          Fax: 323 987 5763
                                                                        9
                                                                          Attorneys for Sam Leslie as Plan Agent under Confirmed Plan of
                                                                       10 Reorganization
  A Professional Corporation




                                                                       11                            UNITED STATES BANKRUPTCY COURT
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12              CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
                                                                       13
                                                                            In re                                             Case No. 2:13-bk-14135-RK
                                                                       14
                                                                          ART AND ARCHITECTURE BOOKS OF                       Chapter 11
                                                                       15 THE 21st CENTURY, a California
SulmeyerKupetz,




                                                                          corporation,                                        MEMORANDUM OF PLAN AGENT
                                                                       16                                                     REGARDING HEARING SET BY COURT
                                                                                       Debtor.                                ON DECEMBER 15, 2021 AT 1:30 P.M.
                                                                       17                                                     ON ORDER TO SHOW CAUSE RE:
                                                                                                                              CONTEMPT AND EMERGENCY
                                                                       18                                                     MOTION FOR ORDER REGARDING
                                                                                                                              SALE OF ART POSTER INVENTORY
                                                                       19                                                     PURSUANT TO CONFIRMED PLAN OF
                                                                                                                              REORGANIZATION (Docket No. 2676)
                                                                       20
                                                                                                                              Date:    December 15, 2021
                                                                       21                                                     Time:    1:30 p.m.
                                                                                                                              Place:   Courtroom 1675
                                                                       22                                                              255 East Temple Street
                                                                                                                                       Los Angeles, CA 90012
                                                                       23                                                               ZOOMGOV

                                                                       24

                                                                       25 TO THE HONORABLE ROBERT N. KWAN, UNITED STATES BANKRUPTCY JUDGE:

                                                                       26           Sam Leslie, as Plan Agent under the confirmed Plan of Reorganization of the Official

                                                                       27 Committee of Unsecured Creditors hereby files this Memorandum regarding the hearing which the

                                                                       28 Court has scheduled on December 15, 2021 at 1:30 p.m. (Docket No. 2676). This is the "Order
                                                                      Case 2:13-bk-14135-RK        Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24                  Desc
                                                                                                    Main Document     Page 2 of 65



                                                                        1 Setting Hearing to Set Evidentiary Hearing to Resolve Disputed Material Fact on the Plan Agent's

                                                                        2 Motion for Order to Show Cause." ("December 15 Order"). In the December 15 Order, the Court

                                                                        3 stated "Having considered the Declaration of Douglas Chrismas in Support of Response to Order

                                                                        4 to Show Cause Why Douglas Chrismas Should Not Be Held in Contempt of Court for Violations

                                                                        5 of the “Order Confirming Second Amended Plan of the Official Committee of Unsecured

                                                                        6 Creditors” (Docket No. 2675), filed on December 8, 2021, it tentatively appears to the court that

                                                                        7 there are disputed issues of material fact in order to resolve the contested matter of the order to

                                                                        8 show cause, which require an evidentiary hearing." (emphasis added) (December 15 Order, page

                                                                        9 2, Lines 1-7).

                                                                       10                                                    I.
  A Professional Corporation




                                                                       11                             Contents of Declaration of Douglas Chrismas
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12           Here are the points made in the "Declaration Of Douglas Chrismas In Support Of
                                                                       13 Response To Order To Show Cause Why Douglas Chrismas Should Not Be Held In Contempt Of

                                                                       14 Court For Violations Of The “Order Confirming Second Amended Plan Of The Official
SulmeyerKupetz,




                                                                       15 Committee Of Unsecured Creditors” (Docket No. 2675) ("Chrismas Declaration") which was

                                                                       16 submitted to this Court on December 8, 2021:

                                                                       17           A.      The poster inventory that is pre-1999 is claimed by Mr. Chrismas in his
                                                                       18 counterclaims filed against the Plan Agent and there is no documentation that these posters were

                                                                       19 ever transferred to the Debtor. (Chrismas Declaration, paragraph 2, page 2, lines 10-16)

                                                                       20           B.      Mr. Chrismas does not dispute that the pre-1999 Art Posters were included in a
                                                                       21 Declaration filed in support of the Debtor's adequate protection offer submitted during the trial on

                                                                       22 assumption or rejection of the Debtor's lease at 5500 Wilshire Boulevard, Los Angeles, California.

                                                                       23 Mr. Chrismas says that he should have "explained" that these posters would be transferred to the

                                                                       24 Debtor if the AERC was assumed (Chrismas Declaration, paragraph 4, page 2, lines 21-25)

                                                                       25           C.      On several occasions he "transferred" artwork to the Debtor in order to support the
                                                                       26 Debtor in its bankruptcy case such as the "Arman" artwork (Chrismas Declaration, paragraph 5,

                                                                       27

                                                                       28

                                                                            VAS 2730598v1                                     2
                                                                      Case 2:13-bk-14135-RK         Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24               Desc
                                                                                                     Main Document     Page 3 of 65



                                                                        1 pages 2-3, lines 26-28 and lines 1-2 on page 3).1

                                                                        2           D.      Mr. Chrismas was "prepared" to transfer the pre-1999 Art Posters to the Debtor but

                                                                        3 never did so (Chrismas Declaration, paragraph 6, page. 3, lines 3-6).

                                                                        4           E.      He filed a Plan of Reorganization in which he was "prepared" to transfer these

                                                                        5 same personal assets to the Debtor, however, his Plan was not confirmed so the said transfer never

                                                                        6 took place. Further, to the extent that the pre-1999 Art Posters were described as the Debtor's

                                                                        7 property in the Debtor's liquidation analysis, this was in "error" (Chrismas Declaration, paragraph

                                                                        8 7, page 3, lines 7-10).

                                                                        9           These are the points made in the Chrismas Declaration. There is no evidence other than

                                                                       10 the statements of Mr. Chrismas in the Chrismas Declaration that support his "factual" statements.
  A Professional Corporation




                                                                       11 Not a document, not a memorandum to counsel or anyone else that substantiates his position. As
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12 shown below, every document in this matter establishes that the exact opposite is the case. As the

                                                                       13 Plan Agent will demonstrate, under the law which binds this Court, there is no question of fact that

                                                                       14 has been properly presented for consideration. The Court must and should immediately rule that:
SulmeyerKupetz,




                                                                       15 (a) Mr. Chrismas has violated the Order Confirming the Plan of Reorganization; and (b) the Plan

                                                                       16 Agent should immediately be authorized to sell all of the Art Posters which constitute the Debtor's

                                                                       17 inventory as it existed when the Plan of Reorganization was confirmed in this Bankruptcy Case.

                                                                       18
                                                                            1
                                                                              Like much or all of the Chrismas Declaration, this statement is a demonstrable lie. In fact, in the
                                                                       19
                                                                            counterclaims of Mr. Chrismas, he claimed the Arman artwork as his own property (contrary to
                                                                       20   the statement in his December 8 Declaration that he contributed it to the Debtor). Only when the
                                                                            Plan Agent showed Mr. Chrismas what Mr. Chrismas already knew, that he had sold this artwork
                                                                       21   to the Debtor during the bankruptcy case and been paid handsomely by the Debtor for it did he
                                                                            abandon his claims to the Arman in the counterclaims pending before this Court. But he would
                                                                       22   not agree in writing to these facts and the Plan Agent was required to file and obtain summary
                                                                            judgment from this Court on the Arman artwork and the Debtor's ownership of it. Summary
                                                                       23
                                                                            judgment was obtained, and this Court sanctioned Mr. Chrismas $10,000 for the Plan Agent's
                                                                       24   costs in connection with this summary judgment motion. The last part of the lie in this paragraph
                                                                            is Mr. Chrismas did not benefit the Debtor by the Arman sale, he took the proceeds of the sale and
                                                                       25   immediately used them to make Ace Museum's rental payment to 400 S. La Brea. In fact, Mr.
                                                                            Chrismas sold the Arman to the Debtor as part of his continuing scheme to channel property of the
                                                                       26   estate to pay the Ace Museum's obligation to 400 S. La Brea and 400 S. La Brea's distributions to
                                                                            Mike Smith, Daryoush Dayan and Kamran Gharibian, and to pay 400 S. La Brea's mortgage
                                                                       27
                                                                            obligation to Cathay Bank. There is simply no floor to the prevarications that Mr. Chrismas
                                                                       28   attempts to pass off as evidence to this Court.


                                                                            VAS 2730598v1                                     3
                                                                      Case 2:13-bk-14135-RK        Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24               Desc
                                                                                                    Main Document     Page 4 of 65



                                                                        1                                                   II.

                                                                        2   ALL OF THE EVIDENCE SUBMITTED TO THIS COURT IN DOCUMENTARY FORM
                                                                            DEMONSTRATES THAT THE ART POSTERS WHICH ARE THE SUBJECT OF THIS
                                                                        3   DISPUTE ARE THE DEBTOR'S PROPERTY AND WERE THE DEBTOR'S PROPERTY
                                                                              WHEN THE PLAN OF REORGANIZATION IN THIS BANKRUPTCY CASE WAS
                                                                        4                               CONFIRMED

                                                                        5           The evidence attached to the original Motion for Order to Show Cause filed by the Plan

                                                                        6 Agent (Docket No. 2661) included the following exhibits-

                                                                        7           1.      Exhibit "5"-a signed Disclosure Statement and Plan of Reorganization containing

                                                                        8 numerous references to this exact Art Poster Inventory including a definition of the same Art

                                                                        9 Posters shown in paragraph 1.68 of the Disclosure Statement (See Docket No. 2661, pg. 5, lines 4-

                                                                       10 6). A liquidation analysis of the art posters specifically valuing them at $13 Million, the same
  A Professional Corporation




                                                                       11 value as they were given in the (Docket No. 2661, pg. 5, lines 7-18)
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12           2.      Exhibit "6" to the Motion for Order to Show Cause and to Enforce Terms and

                                                                       13 Conditions of Confirmed Plan of Reorganization which is the Declaration of Douglas Chrismas

                                                                       14 submitted on behalf of the Chapter 11 Debtor attesting to the fact that the Art Posters which are
SulmeyerKupetz,




                                                                       15 the subject of this Order to Show Cause are the Debtor's Property. See Docket No. 2661, Exhibit

                                                                       16 "6", Bate-Stamped 061-068. The Declaration states, without limitation:

                                                                       17                   a.     "13. During February, March, and April 2013, my staff and I also

                                                                       18 undertook the task of compiling an inventory of the Debtor's posters. I inspected and evaluated

                                                                       19 the Debtor's poster collection and formed the opinion that the Debtor's poster collection is worth in

                                                                       20 excess of $26 million at retail prices. The Debtor is marketing and selling these posters to

                                                                       21 museums, poster stores, and other galleries that engage in retail sales of posters. The wholesale

                                                                       22 value of the poster collection is in excess of $13 million. A true and correct copy of the poster

                                                                       23 inventory (Trial Exhibit 53) is attached as Exhibit 1." (Exhibit 6, Bate-Stamped Page 065, lines 6-

                                                                       24 12) (emphasis added)

                                                                       25                   b.     The Declaration of Mr. Chrismas attaches as an Exhibit the inventory of the
                                                                       26 Debtor's posters. These are the exact same posters as those which the Plan Agent proposes to sell

                                                                       27 through the auction that will be conducted by Mr. Tanenbaum.

                                                                       28           This Declaration from Mr. Chrismas dated August 5, 2013 is attached to this Memorandum

                                                                            VAS 2730598v1                                    4
                                                                      Case 2:13-bk-14135-RK        Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24                Desc
                                                                                                    Main Document     Page 5 of 65



                                                                        1 as Exhibit "1". But there are more documents further substantiating the Plan Agent's claims.

                                                                        2           3.      Exhibit "2" to this Memorandum is an inventory taken from the Debtor's books and

                                                                        3 records of the Art Posters. This inventory is dated April 23, 2013, approximately two months after

                                                                        4 the Chapter 11 filing and about four months prior to the trial Declaration that is Exhibit "1" to this

                                                                        5 Memorandum which values the same Art Posters at $13 Million. This is another document from

                                                                        6 the regularly maintained books and records of the Debtor, Art & Architecture Books of the 21st

                                                                        7 Century, demonstrating once again that the Art Posters constitute the Debtor's Property. It is the

                                                                        8 Debtor's own inventory of the Art Posters which the Debtor's books and records substantiate as the

                                                                        9 Debtor's property.

                                                                       10           4.      Exhibit "3" to this Memorandum is a document entitled "Ace Gallery Poster Sales"
  A Professional Corporation




                                                                       11 written on the Debtor's stationary showing the availability for purchase of all of the very same
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12 posters as were attached to the Declaration of Mr. Chrismas from August, 2013 and contains the

                                                                       13 same posters as are shown on the Debtor's inventory of its Art Posters from April, 2013 which is

                                                                       14 attached hereto as Exhibit "2" to this Memorandum.2 Again, further verification from the books
SulmeyerKupetz,




                                                                       15 and records of the Debtor regarding the unequivocal evidence respecting ownership of the Art

                                                                       16 Posters.

                                                                       17           5.      Exhibit "4" to this Memorandum is again from the Debtor's books and records.
                                                                       18 This document is on the Debtor's stationary and is from the same form as was put into evidence

                                                                       19 before this Court in Exhibit "3" to this Memorandum. Exhibit "4" is a package of 16 separate

                                                                       20 sale transactions of Art Posters by the Debtor. Each of these invoices or sales receipts all

                                                                       21 pertain to separate sales of the Art Poster inventory which is the same Art Poster inventory that is

                                                                       22 the subject of this dispute. Each of these is written on the stationary of the Debtor. In short,

                                                                       23 Debtor has sold the very Art Posters that Mr. Chrismas says constitute his property in connection

                                                                       24 with this Order to Show Cause and Motion to Interpret the confirmed Plan of Reorganization in

                                                                       25

                                                                       26   2
                                                                            Mr. Chrismas knows how to create stationary to sell artwork that he says belongs to entities other
                                                                          than himself. He has stationary under the name Ace Museum and he has stationary under the
                                                                       27
                                                                          name "Ace New York" which is the entity that he used to launder the Debtor's funds during the
                                                                       28 Chapter 11 case.

                                                                            VAS 2730598v1                                    5
                                                                      Case 2:13-bk-14135-RK         Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24                    Desc
                                                                                                     Main Document     Page 6 of 65



                                                                        1 this bankruptcy case under the Debtor's name.

                                                                        2           These Exhibits which include one previously put before this Court in connection with the

                                                                        3 Motion for Order to Show Cause establish even more conclusively than before that there are no

                                                                        4 facts, no contrary evidence whatsoever, other than the continued prevarications of Mr. Chrismas

                                                                        5 with respect to these disputes. The Plan Agent is satisfied and certain that the undisputed evidence

                                                                        6 makes clear that all of the Art Posters are the Plan Agent's to sell under the confirmed Plan and

                                                                        7 that Mr. Chrismas has knowingly violated the confirmed Plan in his objections to the Art Posters'

                                                                        8 sale which objections this Court continues to consider and evaluate.

                                                                        9           If the Court's "tentative" view that there are factual issues in this dispute is stated

                                                                       10 accurately, the Court should change that tentative view because of the overwhelming, undisputed
  A Professional Corporation




                                                                       11 evidence that has been put before it. The only response are another series of lies from Mr.
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12 Chrismas.

                                                                       13                                                      III.

                                                                       14    THE DOCUMENTS INTRODUCED BY THE PLAN AGENT CONSTITUTE JUDICIAL
                                                                              ADMISSIONS BY MR. CHRISMAS THAT REQUIRE THE COURT TO FIND THAT
SulmeyerKupetz,




                                                                       15    THE DISPUTED ART POSTERS CONSTITUTE PROPERTY OF THE BANKRUPTCY
                                                                                                          ESTATE
                                                                       16
                                                                                    The well-recognized concept of judicial admissions was raised in Dang v. Smith (2010)
                                                                       17
                                                                            190 Cal.App.4th 646. In Dang, the court held that “statements in a pleading are always admissible
                                                                       18
                                                                            against the pleader to prove the matter asserted – as is any other statement by a party.” The court
                                                                       19
                                                                            categorized these statements as “‘a conclusive concession of the truth of [that] matter,’ thereby
                                                                       20
                                                                            ‘removing it from the issues.’” In other words, a judicial admission is an admission incorporated
                                                                       21
                                                                            in a pleading that is conclusive in that proceeding on the party who makes it. (emphasis added)
                                                                       22
                                                                                    A judicial admission is a party’s unequivocal concession of the truth of a matter, which
                                                                       23
                                                                            effectively removes the fact as an issue from the litigation. Gelfo v. Lockheed Martin Corp.
                                                                       24
                                                                            (2006) 140 Cal.App.4th 34, 48 Judicial admissions are most commonly found in allegations set
                                                                       25
                                                                            forth in pleadings. (Cytodyn, Inc. v. Amerimmune Pharmaceuticals, Inc. (2008) 160 Cal.App.4th
                                                                       26
                                                                            288.) Facts established by pleadings as judicial admissions are conclusive and may not be
                                                                       27
                                                                            contradicted. As one court has put it, “a pleader cannot blow hot and cold as to the facts positively
                                                                       28

                                                                            VAS 2730598v1                                       6
                                                                      Case 2:13-bk-14135-RK        Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24                 Desc
                                                                                                    Main Document     Page 7 of 65



                                                                        1 stated.” (Myers v. Trendwest Resorts, Inc. (2009) 178 Cal.App.4th 735, 746.) (emphasis added)

                                                                        2           A.      Not all judicial admissions are alike

                                                                        3           Judicial admissions are not solely confined to affirmative allegations. Judicial admissions

                                                                        4 can also be determined by a party’s failure to deny an allegation. Defendants are not immune to

                                                                        5 judicial admissions and their answers should be especially scrutinized in Federal Court where

                                                                        6 general denials are not allowed. However, judicial admissions do not result from the permissible

                                                                        7 use of inconsistent counts or defenses unless they involve contradictions of fact in a verified

                                                                        8 pleading. (See Beatty v. Pacific States Savings & Loan Co. (1935) 4 C.A. 2d 692, 697-98.)

                                                                        9 Although not often utilized by opposing counsel as judicial admissions, a stipulation as to disputed

                                                                       10 evidence or facts, if not in excess of the authority of the attorneys entering it and if conforming to
  A Professional Corporation




                                                                       11 procedural requirements, results in a judicial admission removing the issues agreed upon from the
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12 case in which such stipulation is made. (Gonzales v. Pacific Greyhound Lines (1950) 34 Cal.2d

                                                                       13 749.)

                                                                       14           Judicial admissions are not only confined to pleadings or stipulations. An oral statement by
SulmeyerKupetz,




                                                                       15 counsel in the same action is a binding judicial admission if the statement was an unambiguous

                                                                       16 concession of a matter then at issue and was not made improvidently or unguardedly. (Fassberg

                                                                       17 Const. Co. v. Housing Authority of City of Los Angeles (2007) 152 Cal.App.4th 720.)

                                                                       18 Not every document filed by a party constitutes a pleading from which a judicial admission may

                                                                       19 be extracted. Section 420 of the Code of Civil Procedure explains that pleadings serve the function

                                                                       20 of setting forth “the formal allegations by the parties of their respective claims and defenses, for

                                                                       21 the judgment of the Court.” “The pleadings allowed in civil actions are complaints, demurrers,

                                                                       22 answers, and cross-complaints.” (Code Civ. Proc., § 422.10.) When these pleadings contain

                                                                       23 allegations of fact in support of a claim or defense, the opposing party may rely on the factual

                                                                       24 statements as judicial admissions. (Myers v. Trendwest Resorts, Inc., (2009) 178 Cal.App.4th 735,

                                                                       25 746.)

                                                                       26           B.      A Judicial Admission Removes the Matter as an Issue in the Case
                                                                       27           A judicial admission is a party's unequivocal concession of the truth of a matter, and
                                                                       28 removes the matter as an issue in the case. Parker v. Manchester Hotel Co. (1938) 29 Cal. App.

                                                                            VAS 2730598v1                                     7
                                                                      Case 2:13-bk-14135-RK        Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24               Desc
                                                                                                    Main Document     Page 8 of 65



                                                                        1 2d 446, 458 [85 P.2d 152]; Smith v. Walter E. Heller & Co. (1978) 82 Cal. App. 3d 259, 269 [147

                                                                        2 Cal. Rptr. 1].) This principle has particular force when the admission hurts the conceder's case. An

                                                                        3 express concession against one's interest is regarded as highly competent, credible evidence. See

                                                                        4 Leasman v. Beech Aircraft Corp. (1975) 48 Cal. App. 3d 376, 382 [121 Cal. Rptr. 768].); Minish

                                                                        5 v. Hanuman Fellowship, 214 Cal.App.4th 437 (Cal.App., 2013) (emphasis added)

                                                                        6           A judicial admission is a party's unequivocal concession of the truth of a matter and

                                                                        7 removes the matter as an issue in the case. (emphasis added) Judicial admissions may be made

                                                                        8 in a pleading. Facts established by pleadings as judicial admissions are conclusive concessions of

                                                                        9 the truth of those matters, are effectively removed as issues from the litigation, and may not be

                                                                       10 contradicted by the party whose pleadings are used against him or her. Myers v. Trendwest
  A Professional Corporation




                                                                       11 Resorts, Inc. (2009), 178 Cal.App.4th 735, 746 [100 Cal.Rptr.3d. 658; In re Rolland 317 B.R. 402,
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12 at 421 (Bankr., C.D. Cal, 2004)

                                                                       13           In the bankruptcy context, statements in bankruptcy schedules are executed under penalty
                                                                       14 of perjury and, when offered against a debtor, are eligible for treatment as judicial admissions.
SulmeyerKupetz,




                                                                       15 Larson v. Groos Bank, N.A., 204 B.R. 500, 502 (W.D. Tex. 1996); Vanguard Airlines, Inc. v. Int'l

                                                                       16 Aero Components, Inc. (In re Vanguard Airlines, Inc.), 298 B.R. 626, 635 (Bankr. W.D. Mo.

                                                                       17 2003); In re Kaskel, 269 B.R. 709, 715 (Bankr. D. Idaho 2001); In re Bohrer, 266 B.R. 200, 201

                                                                       18 (Bankr. N.D. Cal. 2001). "Judicial admissions are formal admissions in the pleadings which have

                                                                       19 the effect of withdrawing a fact from issue and dispensing wholly with the need for proof of the

                                                                       20 fact." Am. Title Ins. Co. v. Lacelaw Corp., 861 F.2d 224, 226 (9th Cir. 1988), quoting In re

                                                                       21 Fordson Eng'g Corp., 25 B.R. 506, 509 (Bankr. E.D. Mich. 1982). Judicial admissions are

                                                                       22 conclusively binding on the party who made them. Am. Title Ins., 861 F.2d at 226; Fordson, 25

                                                                       23 B.R. at 509

                                                                       24                                                   IV.
                                                                       25      THE COURT'S DETERMINATION OF WHETHER OR NOT THERE ARE IN THIS
                                                                                             PROCEEDINGS GENUINE ISSUES OF FACT
                                                                       26
                                                                                    "Yet the undisputed evidence belies such a claim, as the testimony and declarations in the
                                                                       27
                                                                            record all confirm that the officers spoke to Gregory before the physical confrontation began. See
                                                                       28

                                                                            VAS 2730598v1                                    8
                                                                      Case 2:13-bk-14135-RK        Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24                 Desc
                                                                                                    Main Document     Page 9 of 65



                                                                        1 Scott v. Harris, 127 S. Ct. 1769, 1776, 167 L. Ed. 2d 686 (2007) ("When opposing parties tell two

                                                                        2 different stories, one of which is blatantly contradicted by the record, so that no reasonable jury

                                                                        3 could believe it, a court should not adopt that version of the facts for purposes of ruling on a

                                                                        4 motion for summary judgment."); Gregory v. City of Maui, 523 F.3d 1103, 1106, 1108 (9th Cir.,

                                                                        5 2008); Davis v. City of Santa Clara, 2018 U.S. Dist. LEXIS 52294 (N.Dist. Cal., 2007).

                                                                        6           "Conclusory allegations . . . without factual support, are insufficient to defeat summary

                                                                        7 judgment." Nat'l Steel Corp. v. Golden Eagle Ins. Co., 121 F.3d 496, 502 (9th Cir. 1997). The

                                                                        8 statements of Mr. Chrismas in his Declaration submitted on December 8 are not more than

                                                                        9 "conclusory allegations" which cannot be given any weight by this Court.

                                                                       10           In this proceeding, Mr. Chrismas has been more than accorded substantive due process.
  A Professional Corporation




                                                                       11 He had nine days to respond to the original Order to Show Cause and then, after a hearing which
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12 occurred before this Court on or about November 23, 2021 at 1:30 p.m., had until December 8,

                                                                       13 2021, a period of fifteen (15) more days, to file his further response through the Chrismas

                                                                       14 Declaration which this Court has now considered. There is nothing further in the record to put
SulmeyerKupetz,




                                                                       15 before this Court. The Court should reconsider its "tentative" intention to hear any further

                                                                       16 evidence. There is not any further evidence. Continuing this matter for yet further hearings only

                                                                       17 serves the abuse of this Court's process and jurisdiction which Mr. Chrismas once again attempts

                                                                       18 to foist upon it and upon the Plan Agent.

                                                                       19           This Court has documents contemporaneously executed by Mr. Chrismas when he had no

                                                                       20 reason to lie versus those statements that he makes now without any documentary support

                                                                       21 whatsoever which contradict the unequivocal evidence before the Court. The law regarding the

                                                                       22 effect of Judicial Admissions has been provided to this Court and the issue regarding whether all

                                                                       23 of the Art Posters are the Debtor's property and were the Debtor's property when the Plan of

                                                                       24 Reorganization in this bankruptcy case was confirmed has been disposed of with finality. There is

                                                                       25 nothing left for this Court to decide.

                                                                       26 //

                                                                       27 //

                                                                       28 //

                                                                            VAS 2730598v1                                     9
                                                                      Case 2:13-bk-14135-RK        Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24                 Desc
                                                                                                    Main Document    Page 10 of 65



                                                                        1                                                    V.

                                                                        2 THE EVIDENCE ESTABLISHES THAT THE ART POSTERS ARE PROPERTY OF THE
                                                                           DEBTOR AND AVAILABLE TO BE SOLD IMMEDIATELY, BOTH AS TO PRE-1999
                                                                        3                     AND POST-1999 ART POSTERS

                                                                        4           The Plan Agent has now put before this Court not only the Judicial Admissions of Mr.

                                                                        5 Chrismas in support of the Order to Show Cause and Motion to Enforce the terms and conditions

                                                                        6 of the confirmed Plan of Reorganization, but has also put before the Court three separate exhibits

                                                                        7 from the Debtor's books and records which likewise clearly establish the Plan Agent's position.

                                                                        8 These include the April, 2013 inventory from the Debtor's books and records, and the form Sale

                                                                        9 Invoice on the Debtor's letterhead showing the availability of the Art Posters which match exactly

                                                                       10 with the Art Posters that the Plan Agent now wishes to sell (Exhibit "3"). Perhaps most
  A Professional Corporation




                                                                       11 dispositively, along with the August, 2013 Declaration from Mr. Chrismas and the Plan signed and
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12 filed by him showing the Art Posters as the Debtor's inventory worth $13 Million (exactly the

                                                                       13 same as the valuation provided in the August 2013 Declaration), are the 16 separate sale

                                                                       14 transactions of the Debtor's Art Posters which sales invoices or receipts are shown as a sale
SulmeyerKupetz,




                                                                       15 by the Debtor with the proceeds of sale remitted directly to the Debtor. These are Exhibit "4"

                                                                       16 to this Memorandum. The Plan Agent believes that they are devastating to whatever remains of

                                                                       17 Mr. Chrisamas' position that there is any question of fact remaining for the Court to decide.

                                                                       18                                                    VI.
                                                                       19                                             CONCLUSION
                                                                       20
                                                                                    The Plan Agent believes that he has demonstrated that the Motion for Order to Show
                                                                       21
                                                                            Cause and to Enforce the terms and conditions of the confirmed Plan of Reorganization in this
                                                                       22
                                                                            bankruptcy case should be granted. There is no evidence whatsoever offered by Mr. Chrismas that
                                                                       23
                                                                            these Art Posters constitute his own property. Not in the Judicial Admissions that all state to the
                                                                       24
                                                                            contrary, and not in the evidence from the Debtor's own books and records which Mr. Chrismas
                                                                       25
                                                                            was responsible for creating and maintaining. The form of invoice for the sale of the Debtor's Art
                                                                       26
                                                                            Posters which are the subject of this dispute is the same form of invoice used by the Debtor for
                                                                       27
                                                                            other art sales. The Plan Agent believes that he has conclusively proven his position. If the Court
                                                                       28

                                                                            VAS 2730598v1                                    10
                                                                      Case 2:13-bk-14135-RK       Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24                Desc
                                                                                                   Main Document    Page 11 of 65



                                                                        1 requires authentication of Exhibits 2-4 of this Memorandum, the Plan Agent is happy to provide it

                                                                        2 as there was not time prior to the December 15 hearing to take care of that issue. The Plan Agent

                                                                        3 requests that the Motion herein be granted and requests such other and further relief as is just and

                                                                        4 appropriate in the circumstances.

                                                                        5 DATED: December 13, 2021                    Respectfully submitted,

                                                                        6                                             SulmeyerKupetz
                                                                                                                      A Professional Corporation
                                                                        7

                                                                        8

                                                                        9                                             By:          /s/ Victor A. Sahn
                                                                                                                            Victor A. Sahn
                                                                       10                                                   Attorneys for Sam Leslie as Plan Agent under
                                                                                                                            Confirmed Plan of Reorganization
  A Professional Corporation




                                                                       11
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12

                                                                       13

                                                                       14
SulmeyerKupetz,




                                                                       15

                                                                       16

                                                                       17

                                                                       18

                                                                       19

                                                                       20

                                                                       21

                                                                       22

                                                                       23

                                                                       24

                                                                       25

                                                                       26

                                                                       27

                                                                       28

                                                                            VAS 2730598v1                                   11
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 12 of 65




                  EXHIBIT 1
     Case
     Case2:13-bk-14135-RK
          2:13-bk-14135-RK Doc
                           Doc2682   Filed08/05/13
                               266 Filed   12/13/21 Entered
                                                     Entered08/05/13
                                                             12/13/2118:50:57
                                                                      21:43:24 Desc
                                                                               Desc
                            Main Document
                             Main Document    Page 13 of 65
                                               Page 1 of 11


 1    RON BENDER (SBN 143364)
      BETH ANN R. YOUNG (SBN143945)
 2    KURT RAMLO (SBN 166856)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 3    LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 4    Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 5    Email: rb@lnbyb.com; bry@lnbyb.com; kjm@lnbyb.com

 6    Attorneys for Chapter 11 Debtor and Debtor in Possession

 7

 8                           UNITED STATES BANKRUPTCY COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA

10                                     LOS ANGELES DIVISION

11    In re:                                          Case No. 2:13-bk-14135-RK

12    ART AND ARCHITECTURE BOOKS                      Chapter 11
      OF THE 21ST CENTURY, dba ACE
13    GALLERY,                                         DIRECT VALUATION TESTIMONY OF
                                                       DOUGLAS CHRISMAS IN SUPPORT OF
14
                                                       DEBTOR’S MOTION ASSUME MASTER
15                                                     LEASE FOR REAL PROPERTY AT 5500
               Debtor and Debtor in Possession.        WILSHIRE BLVD., LOS ANGELES, CA
16                                                     90036
17                                                     Date: August 19 and 30, 2013
                                                       Time: 9:00 a.m.
18                                                     Place: Courtroom 1675
                                                              255 East Temple Street
19                                                            Los Angeles, California 90012
20

21
               I, Douglas Chrismas, hereby declare as follows:
22
               1.     I am the President of Art And Architecture Books Of The 21st Century, dba Ace
23
      Gallery, chapter 11 debtor and debtor in possession (the “Debtor”). As President of the Debtor, I
24
      am involved in virtually all aspects of the Debtor’s operations and financial condition. I am also
25
      the Director and Chief Curator of the Debtor.
26
               2.     This Declaration is submitted as my direct valuation testimony of the Debtor’s
27
      contemporary art work, including posters, in connection with the trial scheduled on the Debtor’s
28


                                                       1                                           12
     Case
     Case2:13-bk-14135-RK
          2:13-bk-14135-RK Doc
                           Doc2682   Filed08/05/13
                               266 Filed   12/13/21 Entered
                                                     Entered08/05/13
                                                             12/13/2118:50:57
                                                                      21:43:24 Desc
                                                                               Desc
                            Main Document
                             Main Document    Page 14 of 65
                                               Page 2 of 11


 1    Motion to Assume Master Lease as to the real property located at 5500 Wilshire Blvd., Los

 2    Angeles, CA 90036.

 3           3.       I have personal knowledge of the facts set forth herein, and, if called to testify,

 4    could and would competently testify to such facts.

 5    A.     Background Information.

 6           4.       I started my contemporary art career in Vancouver, Canada in 1961 where at the
 7    age of 17 I opened my first art gallery. During the following years, the gallery grew mounting
 8    exhibitions of such important artists as Warhol, Lichtenstein, Rauschenberg, to name but a few
 9    who were considered the “hot” young artists at that time.
10           5.       The gallery expanded to Los Angeles in 1967 and then further expanded to New
11    York in 1994. The galleries were noted for doing museum-level exhibitions by up and coming
12    and also world-renowned artists. While in New York, the gallery’s presence was amplified by its
13    doing exhibitions with such important cultural institutions as the Guggenheim Museum and the
14    Cartier Foundation (Paris, France), which even though my gallery was a commercial gallery it
15    had gained great respect from museums worldwide. Under my directorship, Ace Gallery has had
16    either offices or galleries in such important art centers as Mexico City, Paris, Berlin, Beijing,
17    Vancouver, and New York, along with its strong position in Los Angeles.
18           6.       My ability to create architectural spaces for contemporary art of our time became
19    well known. I created the first White Cube contemporary art space as we know it today.
20           7.       Some of the gallery’s exhibitions in New York drew 2,000 plus visitors a day,
21    which was comparable to such institutions as the Whitney Museum. Ace Gallery was the largest
22    privately owned gallery in New York at that time. While in New York, I had also continued the
23    gallery’s program in Los Angeles. I departed New York and fully moved to Los Angeles after the
24    tragic events of 9/11 as the New York gallery’s location was in close proximity to the World
25    Trade Towers.
26           8.       I am well known and respected for my curatorial expertise and knowledge of
27    contemporary art from 1940 to present and my ability to install exhibitions that enable the art to
28


                                                      2                                             13
     Case
     Case2:13-bk-14135-RK
          2:13-bk-14135-RK Doc
                           Doc2682   Filed08/05/13
                               266 Filed   12/13/21 Entered
                                                     Entered08/05/13
                                                             12/13/2118:50:57
                                                                      21:43:24 Desc
                                                                               Desc
                            Main Document
                             Main Document    Page 15 of 65
                                               Page 3 of 11


 1    be seen and studied in a visually meaningful way. I continue a focused program of exhibitions in

 2    Los Angeles. My gallery is considered to be the oldest contemporary gallery in the Western

 3    United States, and I have curated and mounted over 600 exhibitions during my 52-year career as

 4    the gallery director. The gallery is considered one of the best commercial art galleries in the

 5    world at presenting museum-level exhibitions. In putting together these exhibitions, I present the

 6    vision of what the artist is seeking to do, by focusing on presenting the works of the artist in a

 7    manner that displays the inner language of the artist, guides the visitor in how he or she

 8    encounters each work in relation to the other works, and tells a story. These exhibitions promote

 9    both the artist and the gallery to visitors nationally and internally.

10            9.      As part of the exhibition process, the Debtor typically has the artist prepare a

11    poster or similar document relating to the exhibition. These items are generally inexpensive to

12    reproduce and are offered for sale at modest prices to the exhibition’s visitors, who sometimes ask

13    the artists to autograph a purchased poster. The gallery has stored the unsold posters for years

14    now, including many related to exhibits of Warhol, Lichtenstein, and Rauschenberg. The gallery

15    recently determined to market these extremely valuable posters.

16            10.     I am also Director and Chief Curator of Ace Museum. Ace Museum is a non-

17    profit organization formed in 2009 which is dedicated to educating through exhibiting works of

18    contemporary art.      Ace Museum has researched and plans to execute unique exhibitions

19    addressing a full range of artistic media, as well as exhibiting high caliber traveling exhibitions

20    that may not otherwise tour to Los Angeles. Ace Museum is committed to providing Los Angeles

21    with an alternative exhibition experience and dynamic programs focused on increasing the

22    audience’s capacity to engage with significant and challenging works, while fostering

23    relationships with partner institutions to expand local, national, and international contemporary art

24    and culture. It is the ultimate vision of Ace Museum to increase the visibility of contemporary art

25    in the greater Los Angeles area and also increase Los Angeles's reputation as a leading city for

26    arts in the international art community. Ace Museum will provide dynamic programs for

27

28


                                                        3                                             14
     Case
     Case2:13-bk-14135-RK
          2:13-bk-14135-RK Doc
                           Doc2682   Filed08/05/13
                               266 Filed   12/13/21 Entered
                                                     Entered08/05/13
                                                             12/13/2118:50:57
                                                                      21:43:24 Desc
                                                                               Desc
                            Main Document
                             Main Document    Page 16 of 65
                                               Page 4 of 11


 1    audiences of all ages and backgrounds to participate, relate to, and interpret multi-layered art

 2    contexts for themselves, resulting in the long-term effect of a more art-educated community.

 3           11.     I am a highly consulted expert on establishing value of art works from 1940 to

 4    current. During the past 50 years, I have given written opinions of value of contemporary art to

 5    thousands of clients. I am the sole individual at the Debtor who determines, and has determined,

 6    for the gallery the price at which any art work is offered for sale or sold, or purchased. I have set

 7    these prices for thousands of transactions on behalf of the gallery. Rarely have I underestimated

 8    the value of any work sold or purchased by the gallery. In addition to setting all sale and

 9    purchase prices for the gallery, I have kept, and continue to keep, current on the value of

10    contemporary art by continually observing events and reviewing information from around the

11    world, including websites, emails, and other communications from galleries, auction houses,

12    museums, and similar businesses and institutions, auction house price structures (asking prices,

13    reserve prices, sale prices, etc.), contemporary art periodicals and other publications, and my

14    personal interactions with collectors, visitors, clients, artists, curators, other gallery owners, and

15    other participants in the contemporary art world. Because I conduct these activities on a continual

16    basis, when I am asked or required to determine the value of a particular piece of contemporary

17    art, I do not need to consult historical records of sales or other written data. I personally inspect

18    and evaluate the work, and then from that inspection and evaluation form an opinion of value

19    based on my expertise, skill, knowledge, and experience gained from more than 50 years of the

20    activities described above.

21    B.     Valuation.

22           12.     During May, June, and early July, 2013 (the “Inventory Period”), my staff and I
23    undertook the task of compiling inventories of the Debtor’s owned art work and consigned art
24    work (excluding posters). As part of that task, I inspected and evaluated each art work and listed
25    my opinion of its value on the inventories of owned art work and consigned art work. The
26    aggregate value of the owned art work as of the Inventory Period is $13 million. A true and
27    correct copy of owned art work inventory will be submitted to the Court as Trial Exhibit 51 and
28


                                                      4                                                15
 Case2:13-bk-14135-RK
Case  2:13-bk-14135-RK Doc
                        Doc266
                            2682 Filed
                                    Filed 12/13/21 Entered
                                        08/05/13     Entered  12/13/21
                                                            08/05/13   21:43:24 Desc
                                                                     18:50:57     Desc
                         Main Document
                        Main Document        Page  17 of
                                            Page 5 of 11 65




                                         5
                                                                                  16
Case
Case2:13-bk-14135-RK
     2:13-bk-14135-RK Doc
                      Doc2682   Filed08/05/13
                          266 Filed   12/13/21 Entered
                                                Entered08/05/13
                                                        12/13/2118:50:57
                                                                 21:43:24 Desc
                                                                          Desc
                       Main Document
                        Main Document    Page 18 of 65
                                          Page 6 of 11




                           EXHIBIT 1

                                      6                                   17
      Case
      Case2:13-bk-14135-RK
           2:13-bk-14135-RK Doc
                            Doc2682   Filed08/05/13
                                266 Filed   12/13/21 Entered
                                                      Entered08/05/13
                                                              12/13/2118:50:57
                                                                       21:43:24 Desc
                                                                                Desc
                             Main Document
                              Main Document    Page 19 of 65
                                                Page 7 of 11

ACE GALLERY POSTER INVENTORY                                  2.15.13

      ARTIST                  POSTER            YEAR            SIZE           NOTES      QTY      $ EACH       TOTAL $
Andy Warhol            American Indian - Black   1976      50" x 34"             Signed      25     $5,000.00        $125,000.00
Andy Warhol            American Indian - Black   1976      50" x 34"           Unsigned     549     $1,200.00        $658,800.00
Andy Warhol            American Indian - Red     1976      50" x 34"             Signed      18     $5,000.00         $90,000.00
Andy Warhol            American Indian - Red     1976      50" x 34"           Unsigned    1472     $1,200.00      $1,766,400.00
Andy Warhol            American Indian - Blue    1977      50" x 34"             Signed      26     $5,000.00        $130,000.00
Andy Warhol            American Indian - Blue    1977      50" x 34"           Unsigned    1517     $1,200.00      $1,820,400.00
Andy Warhol            Torsos                    1977      40" x 28"           Unsigned       8       $800.00          $6,400.00
Andy Warhol            Torsos                    1977      60" x 40"             Signed       1    $10,000.00         $10,000.00
Andy Warhol            Torsos                    1977      60" x 40"           Unsigned    1056     $1,200.00      $1,267,200.00
Andy Warhol            Self Portrait                       42 1/2" x 30"       Unsigned      10     $5,000.00         $50,000.00
Carl Andre             Zinc                      2007      29 1/2" x 48"         Signed     149       $275.00         $40,975.00
Carl Andre             Zinc                      2007      29 1/2" x 48"       Unsigned    2060        $50.00        $103,000.00
Charles Fine           Alga                      1987      60" x 31"           Unsigned    1264        $50.00         $63,200.00
Charles Fine           Earth & Sky I             2005      52" x 36"             Signed      61       $200.00         $12,200.00
Charles Fine           Earth & Sky I             2005      52" x 36"           Unsigned     982        $50.00         $49,100.00
Date Famers            Date Farmers              2011      39" x 27"             Signed      63       $100.00          $6,300.00
Date Farmers           Date Farmers              2011      39" x 27"           Unsigned     853        $30.00         $25,590.00
David Amico            Drift Trace               2008      48" x 32"             Signed      17      $150.00           $2,550.00
David Amico            Drift Trace               2008      48" x 32"           Unsigned    2501        $50.00       $125,050.00
David Hammons          Flashlight Drawing        2002-3    39 1/2" x 25"       Unsigned       6
David Hammons          Flashlight Drawing        2002-3    39 1/2" x 25"         Signed      79     $5,000.00       $395,000.00
David Hammons          Flashlight Drawing        2002-3    73" x 48"           Unsigned    1236      $100.00        $123,600.00
Dennis Hopper          A Survey                  2006      48" x 32"           Unsigned    1540        $50.00        $77,000.00
Dennis Hopper          A Survey                  2006      48" x 32"             Signed      18
Ed Moses               Egg Yolk 4                2012      39" x 27"             Signed      41      $200.00          $8,200.00
Ed Moses               Egg Yolk 4                2012      39" x 27"           Unsigned     826       $50.00         $41,300.00
Frank Gehry                                      1997      42" x 63 1/2"       Unsigned       1
H.C. Schink            L.A. Night Series         2004-5    48" x 40"             Signed     173      $225.00         $38,925.00
H.C. Schink            L.A. Night Series         2004-5    48" x 40"           Unsigned     842       $50.00         $42,100.00
Hector Garcia          El Sueno de la Melinche             50" x 83"             Signed       1
Hector Garcia                                              50" x 70 1/2"         Signed       1
Issey Miyake           Making Things             1999-00   40 1/2" x 29"       Unsigned     509       $50.00         $25,450.00
Issey Miyake           Making Things             1999-00   75" x 50"           Unsigned    2198       $75.00        $164,850.00
Issey Miyake                                     2000      29 1/2" x 40"       Unsigned    2321       $60.00        $139,260.00
Issey Miyake                                     2000      64 1/4" x 48 1/4"   Unsigned    1691      $150.00        $253,650.00
John Millei            Procession                2006      50" x 32"             Signed      18      $100.00          $1,800.00
John Millei            Procession                2006      50" x 32"           Unsigned    2786       $40.00        $111,440.00
Jorg Immendorf         Café De Flore             1994      34 1/4" x 26"       Unsigned     342      $125.00         $42,750.00
Lauren Bon             Bees and Meat             2007      72" x 36"             Signed      10      $500.00          $5,000.00
Lauren Bon             Bees and Meat             2007      72" x 36"           Unsigned    2285       $60.00        $137,100.00
Laurie Lipton          Augmental                 2012      39" x 27"             Signed     171      $225.00         $38,475.00
Laurie Lipton          Augmental                 2012      39" x 27"           Unsigned     791       $40.00         $31,640.00
Martin Schoeller       Angelina                  2007      52" x 32"             Signed     214      $300.00         $64,200.00
Martin Schoeller       Angelina                  2007      52" x 32"           Unsigned    1184       $40.00         $47,360.00
Mary Corse&James Turre Ace LA & NYE+Brown        2013      18" x 18"             Signed      14      $100.00          $1,400.00
Melanie Pullen         High Fashion Crime Series 2005      52" x 36"             Signed       5      $200.00          $1,000.00
Melanie Pullen         High Fashion Crime Series 2005      52" x 36"           Unsigned    1238       $50.00         $61,900.00
Melanie Pullen         Violent Times             2008      48" x 32"             Signed      23      $200.00          $4,600.00
Melanie Pullen         Violent Times             2008      48" x 32"           Unsigned    1967       $50.00         $98,350.00
Melissa Ketschmer      Plane Series              2007      48" x 29 3/4"         Signed      13      $200.00          $2,600.00
Melissa Ketschmer      Plane Series              2007      48" x 29 3/4"       Unsigned    2205       $40.00         $88,200.00
Michael Heizer         This Equals That                    33 3/4" x 59 1/2"   Unsigned       1   NFS
Michael Heizer         Untitled, Horizantal Rock           30" x 30 3/4"       Unsigned       1   NFS
Michael Heizer         Untitled, Angled Rock               33 1/2" x 41 1/2"   Unsigned       1   NFS
Michael Heizer         Untitled, Vertical Rock             37" x 27"           Unsigned       1   NFS
Richard Serra          Ace L.A. May-April        1970      32" x 44"           Unsigned       3     $5,000.00        $15,000.00
Robert Graham          The Female Form           2005      52" x 34"             Signed       1   NFS



                                                                    7                                                18
      Case
      Case2:13-bk-14135-RK
           2:13-bk-14135-RK Doc
                            Doc2682   Filed08/05/13
                                266 Filed   12/13/21 Entered
                                                      Entered08/05/13
                                                              12/13/2118:50:57
                                                                       21:43:24 Desc
                                                                                Desc
                             Main Document
                              Main Document    Page 20 of 65
                                                Page 8 of 11




Robert Graham         The Female Form             2005   52" x 34"           Unsigned         1803       $60.00        $108,180.00
Robert Rauschenberg   Ace Venice USA              1977   50" x 36"             Signed            21   $5,000.00        $105,000.00
Robert Rauschenberg   Ace Venice USA              1977   50" x 36"           Unsigned         2226    $1,200.00      $2,671,200.00
Robert Rauschenberg   Ace Venice USA              1977   72" x 50"             Signed            40   $5,000.00        $200,000.00
Robert Rauschenberg   Ace Venice USA              1977   72" x 50"           Unsigned         1387    $2,500.00      $3,467,500.00
Robert Rauschenberg   Feb + Mar                   1978   75" x 30"           Unsigned         2364      $400.00        $945,600.00
Robert Rauschenberg   Ace Canada Cloister Series1980     50" x 36"             Signed            31   $2,500.00         $77,500.00
Robert Rauschenberg   Ace Canada Cloister Series1980     50" x 36"           Unsigned         2988      $400.00      $1,195,200.00
Robert Rauschenberg   Ace Melrose Cloister 3             27" x 36"             Signed            62   $2,500.00        $155,000.00
Robert Rauschenberg   Ace Melrose Cloister 3             27" x 36"           Unsigned            58     $200.00         $11,600.00
Robert Rauschenberg   Ace Los Angeles             1989   60" x 38"           Unsigned         2933      $125.00        $366,625.00
Robert Smithson       Great Salt Lake, Spiral Jetty      29 1/2" x 33 1/2"   Unsigned            87   $1,800.00        $156,600.00
Robert Smithson       Asphalt Rundown             1969   39 1/2" x 26 3/4"   Unsigned             6   $1,200.00          $7,200.00
Robert Smithson       Great Salt Lake, Movie Treatment   38" x 22"           Unsigned            11   $1,600.00         $17,600.00
Robert Smithson       Movie Treatment Part I             20" x 26"           Unsigned             1     $400.00            $400.00
Robert Smithson       Movie Treatment Part II            20" x 26"           Unsigned             1    $400.00             $400.00
Robert Wilson         Black Panther               2007   48" x 32"           on web, not in stock
Robert Wilson         Horned Frog                 2007   48" x 32"           on web, not in stock
Robert Wilson         Snow Owl                    2007   48" x 32"           on web, not in stock
Robert Wilson         South American Porcupine 2007      48" x 32"           on web, not in stock
Roger Herman          Woman on RR Tracks          1987   60" x 39 1/2"       Unsigned         1474       $50.00         $73,700.00
Roger Herman          Ace Los Angeles             1995   24 3/4" x 38"       Unsigned            80      $50.00          $4,000.00
Roy Lichtenstein      Surrealist Paintings        1979   58" x 44"           Unsigned         3293    $2,500.00      $8,232,500.00
Sam Francis           Paintings and Drawings      1979   55" x 40            Unsigned         2496      $100.00        $249,600.00
Tara Donovan          A Survey                    2005   48" x 36"           on web, not in stock
Tierney Gearon        Frame 22                    2009   48" x 36"           Unsigned         2243      $60.00         $134,580.00
Tim Hawkinson         Sonic                       2005   48" x 35"           Unsigned         1506      $75.00         $112,950.00
                                                                                          62500                   $26,707,250.00




                                                                  8                                                    19
       Case
       Case2:13-bk-14135-RK
            2:13-bk-14135-RK Doc
                             Doc2682   Filed08/05/13
                                 266 Filed   12/13/21 Entered
                                                       Entered08/05/13
                                                               12/13/2118:50:57
                                                                        21:43:24 Desc
                                                                                 Desc
                              Main Document
                               Main Document    Page 21 of 65
                                                 Page 9 of 11


                                               PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 10250
Constellation Boulevard, Suite 1700, Los Angeles, CA 90017.

A true and correct copy of the foregoing document entitled (specify): DIRECT VALUATION TESTIMONY OF DOUGLAS
CHRISMAS IN SUPPORT OF DEBTOR’S MOTION ASSUME MASTER LEASE FOR REAL PROPERTY AT 5500
WILSHIRE BLVD., LOS ANGELES, CA 90036; will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
August 5, 2013, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

     Ron Bender on behalf of Debtor Art and Architecture Books of the 21st Century
     rb@lnbyb.com

     Ron Bender on behalf of Plaintiff Art and Architecture Books of the 21st Century
     rb@lnbyb.com

     Bruce Bennett on behalf of Interested Party Courtesy NEF
     bbennett@jonesday.com

     Carol Chow on behalf of Creditor AERC Desmond's Tower, LLC
     CChow@Stutman.com

     Marina Fineman on behalf of Creditor AERC Desmond's Tower, LLC
     mfineman@stutman.com

     Michael F Frank on behalf of Creditor Ben Jewelry, Inc.
     mfrankatty@aol.com

     Thomas M Geher on behalf of Debtor Art and Architecture Books of the 21st Century
     tmg@jmbm.com, we1@jmbm.com;fc3@jmbm.com

     Eric D Goldberg on behalf of Creditor AERC Desmond's Tower, LLC
     egoldberg@stutman.com

     Asa S Hami on behalf of Creditor Committee OFFICIAL COMMITTEE OF UNSECURED CREDITORS
     ahami@sulmeyerlaw.com

     Asa S Hami on behalf of Interested Party Courtesy NEF
     ahami@sulmeyerlaw.com

     Asa S Hami on behalf of Interested Party Courtesy NEF
     ahami@sulmeyerlaw.com

     Mary D Lane on behalf of Interested Party Courtesy NEF
     mal@msk.com, mec@msk.com

     Daniel A Lev on behalf of Creditor Committee OFFICIAL COMMITTEE OF UNSECURED CREDITORS
     dlev@sulmeyerlaw.com, asokolowski@sulmeyerlaw.com

     Daniel A Lev on behalf of Interested Party Courtesy NEF
     dlev@sulmeyerlaw.com, asokolowski@sulmeyerlaw.com

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of Calif ornia.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                                                                                                                                             20
       Case
       Case2:13-bk-14135-RK
            2:13-bk-14135-RK Doc
                             Doc2682   Filed08/05/13
                                 266 Filed   12/13/21 Entered
                                                       Entered08/05/13
                                                               12/13/2118:50:57
                                                                        21:43:24 Desc
                                                                                 Desc
                              Main Document
                              Main Document     Page 22 of 65
                                                Page 10 of 11



     Sidney P Levinson on behalf of Creditor AERC Desmond's Tower, LLC
     slevinson@jonesday.com, kfloyd@ecf.inforuptcy.com;kfloyd@jonesday.com

     Alvin Mar on behalf of U.S. Trustee United States Trustee (LA)
     alvin.mar@usdoj.gov

     Krikor J Meshefejian on behalf of Debtor Art and Architecture Books of the 21st Century
     kjm@lnbrb.com

     Krikor J Meshefejian on behalf of Plaintiff Art and Architecture Books of the 21st Century
     kjm@lnbrb.com

     Alan I Nahmias on behalf of Interested Party Courtesy NEF
     anahmias@mbnlawyers.com, jdale@mirmanbubman.com

     Christine M Pajak on behalf of Creditor AERC Desmond's Tower, LLC
     cpajak@stutman.com

     Christine M Pajak on behalf of Defendant AERC DESMONDS TOWER, LLC, a Delaware limited liability company
     cpajak@stutman.com

     Christine M Pajak on behalf of Interested Party Courtesy NEF
     cpajak@stutman.com

     Danielle A Pham on behalf of Creditor AERC Desmond's Tower, LLC
     dpham@stutman.com, daniellepham@gmail.com

     Danielle A Pham on behalf of Defendant AERC DESMONDS TOWER, LLC, a Delaware limited liability company
     dpham@stutman.com, daniellepham@gmail.com

     Kurt Ramlo on behalf of Debtor Art and Architecture Books of the 21st Century
     kr@lnbyb.com

     Kurt Ramlo on behalf of Plaintiff Art and Architecture Books of the 21st Century
     kr@lnbyb.com

     Christopher O Rivas on behalf of Creditor Estate of Pentti J.K. Kouri
     crivas@reedsmith.com

     Christopher O Rivas on behalf of Interested Party Courtesy NEF
     crivas@reedsmith.com

     Victor A Sahn on behalf of Attorney OFFICIAL COMMITTEE OF UNSECURED CREDITORS
     vsahn@sulmeyerlaw.com, agonzalez@sulmeyerlaw.com,asokolowski@sulmeyerlaw.com

     Victor A Sahn on behalf of Creditor Committee OFFICIAL COMMITTEE OF UNSECURED CREDITORS
     vsahn@sulmeyerlaw.com, agonzalez@sulmeyerlaw.com,asokolowski@sulmeyerlaw.com

     Victor A Sahn on behalf of Interested Party Courtesy NEF
     vsahn@sulmeyerlaw.com, agonzalez@sulmeyerlaw.com,asokolowski@sulmeyerlaw.com

     Victor A Sahn on behalf of Interested Party Courtesy NEF
     vsahn@sulmeyerlaw.com, agonzalez@sulmeyerlaw.com,asokolowski@sulmeyerlaw.com

     Michael C Schneidereit on behalf of Interested Party Courtesy NEF
     mschneidereit@jonesday.com, jhchase@jonesday.com
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of Calif ornia.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                                                                                                                                            21
       Case
       Case2:13-bk-14135-RK
            2:13-bk-14135-RK Doc
                             Doc2682   Filed08/05/13
                                 266 Filed   12/13/21 Entered
                                                       Entered08/05/13
                                                               12/13/2118:50:57
                                                                        21:43:24 Desc
                                                                                 Desc
                              Main Document
                              Main Document     Page 23 of 65
                                                Page 11 of 11



     United States Trustee (LA)
     ustpregion16.la.ecf@usdoj.gov

     Beth Ann R Young on behalf of Debtor Art and Architecture Books of the 21st Century
     bry@lnbyb.com

     Beth Ann R Young on behalf of Plaintiff Art and Architecture Books of the 21st Century
     bry@lnbyb.com
                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On August 5, 2013, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

VIA U.S MAIL
                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on August 5, 2013, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA ATTORNEY SERVICE

The Hon. Robert N. Kwan
255 E. Temple Street, Suite 1682 / Courtroom 1675
Los Angeles, CA 90012
                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 August 5, 2013                Marla L. Fuentes                                                  /s/ Marla L. Fuentes
 Date                           Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of Calif ornia.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                                                                                                                                            22
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 24 of 65




                  EXHIBIT 2
                  Case 2:13-bk-14135-RK          Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24       Desc
                                                  Main Document    Page 25 of 65



ACE GALLERY POSTER INVENTORY                                    4.23.13

  ARTIST             POSTER               YEAR     SIZE NOTESQTY $ EACH TOTAL $
Andy Warhol     American Indian - Black   1976  50" x 34"     Signed     24   #######     $180,000.00
Andy Warhol     American Indian - Black   1976  50" x 34"    nsigned    548   #######    $1,372,500.00
Andy Warhol     American Indian - Red     1976  50" x 34"     Signed     18   #######     $135,000.00
Andy Warhol     American Indian - Red     1976  50" x 34"    nsigned   1471   #######    $3,680,000.00
Andy Warhol     American Indian - Blue    1977  50" x 34"     Signed     26   #######     $195,000.00
Andy Warhol     American Indian - Blue    1977  50" x 34"    nsigned   1515   #######    $3,790,000.00
Andy Warhol     Torsos                    1977  40" x 28"    nsigned      8   NFS?
Andy Warhol     Torsos                    1977  60" x 40"     Signed      1   NFS
Andy Warhol     Torsos                    1977  60" x 40"    nsigned   1056   #######    $1,267,200.00
Andy Warhol     Self Portrait                   42 1/2" x 30"nsigned     10   #######       $50,000.00
Carl Andre      Zinc                      2007 29 1/2" x 48" Signed     149    $275.00      $40,975.00
Carl Andre      Zinc                      2007 29 1/2" x 48"nsigned    2060     $50.00     $103,000.00
Charles Fine    Alga                      1987 60" x 31"     nsigned   1264     $50.00      $63,200.00
Charles Fine    Earth & Sky I             2005 52" x 36"     Signed      60    $200.00      $12,200.00
Charles Fine    Earth & Sky I             2005 52" x 36"     nsigned    982     $50.00      $49,100.00
Date Famers     Date Farmers              2011 39" x 27"      Signed     63    $100.00       $6,300.00
Date Farmers    Date Farmers              2011 39" x 27"     nsigned    853     $30.00      $25,590.00
David Amico     Drift Trace               2008 48" x 32"      Signed     17    $150.00       $2,550.00
David Amico     Drift Trace               2008 48" x 32"     nsigned   2501     $50.00     $125,050.00
David Hammons   Flashlight Drawing        2002-339 1/2" x 25"nsigned     85     $50.00         $300.00
David Hammons   Flashlight Drawing        2002-373" x 48"    nsigned   1236    $100.00     $123,600.00
Dennis Hopper   A Survey                  2006 48" x 32"      Signed     18    $600.00      $10,800.00
Dennis Hopper   A Survey                  2006 48" x 32"     nsigned   1540     $50.00      $77,000.00
Ed Moses        Egg Yolk 4                2012 39" x 27"      Signed     41    $200.00       $8,200.00
Ed Moses        Egg Yolk 4                2012 39" x 27"     nsigned    824     $50.00      $41,200.00
Frank Gehry     Time Square Project       1997 64" x 42" (w/nsigned       1   NFS
H.C. Schink     L.A. Night Series         2004-548" x 40"     Signed    173    $225.00     $38,925.00




                                                                                                                23
                   Case 2:13-bk-14135-RK       Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24      Desc
                                                Main Document    Page 26 of 65



H.C. Schink      L.A. Night Series       2004-548" x 40"   nsigned     842    $50.00     $42,100.00
                 Making Things,
Issey Miyake     Foundation Cartier      1998-968 3/4" x 48 nsigned      1   $500.00        $500.00
Issey Miyake     Making Things           1999-040 1/2" x 29"nsigned    509    $50.00     $25,450.00
Issey Miyake     Making Things           1999-075" x 50"    nsigned   2198    $75.00    $164,850.00
Issey Miyake                             2000 29 1/2" x 40"nsigned    2321    $60.00    $139,260.00
Issey Miyake                             2000 64 1/4" x 48 nsigned    1691   $150.00    $253,650.00
Jay Mark JohnsonAplanat, New York & Ha 2008 33" x 23 1/4"nsigned         2    $30.00         $60.00
JoAnn Callis     Museum of Contemporar1985 36" x 24"         Signed      2    $30.00         $60.00
John Millei      Procession              2006 50" x 32"      Signed     18   $100.00      $1,800.00
John Millei      Procession              2006 50" x 32"     nsigned   2786    $40.00    $111,440.00
Jorg Immendorf Café De Flore             1994 34 1/4" x 26"nsigned     342   $125.00     $42,750.00
Lauren Bon       Bees and Meat           2007 72" x 36"      Signed     10   $500.00      $5,000.00
Lauren Bon       Bees and Meat           2007 72" x 36"     nsigned   2285    $60.00    $137,100.00
Laurie Lipton    Augmental               2012 39" x 27"      Signed    171   $225.00     $38,475.00
Laurie Lipton    Augmental               2012 39" x 27"     nsigned    791    $40.00     $31,640.00
Martin Schoeller Angelina                2007 52" x 32"      Signed    214   $300.00     $34,200.00
Martin Schoeller Angelina                2007 52" x 32"     nsigned   1184    $40.00     $47,360.00
Mary Corse &
James Turrell    Ace LA & NYE+Brown 2013 18" x 18"           Signed     14    $100.00     $1,400.00
Melanie Pullen   High Fashion Crime Seri 2005 52" x 36"      Signed      5    $200.00     $1,000.00
Melanie Pullen   High Fashion Crime Seri 2005 52" x 36"     nsigned   1238     $50.00    $61,900.00
Melanie Pullen   Violent Times           2008 48" x 32"      Signed     23    $200.00     $4,600.00
Melanie Pullen   Violent Times           2008 48" x 32"     nsigned   1967     $50.00    $98,350.00
Melissa KetschmePlane Series             2007 48" x 29 3/4" Signed      13    $200.00     $2,600.00
Melissa KetschmePlane Series             2007 48" x 29 3/4"nsigned    2205     $40.00    $88,200.00
Michael Heizer This Equals That                33 3/4" x 59 nsigned      1   NFS
Michael Heizer Untitled, Horizantal Rock       30" x 30 3/4"nsigned      1   NFS
Michael Heizer Untitled, Angled Rock           33 1/2" x 41 nsigned      1   NFS
Michael Heizer Untitled, Vertical Rock         37" x 27"    nsigned      1   NFS




                                                                                                             24
                   Case 2:13-bk-14135-RK       Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24         Desc
                                                Main Document    Page 27 of 65



Paul McCarthy &
Damon            Caribbean Pirates, Red
McCarthy         Cat Theater             2008 39" x 27"     Signed        4    $200.00         $800.00
Richard Serra    Ace L.A. May-April      1970 32" x 44"    nsigned        3   #######       $15,000.00
Robert Graham The Female Form            2005 52" x 34"    nsigned 1803         $60.00     $108,180.00
Robert RauschenbAce Venice USA           1977 50" x 36"     Signed       21   #######     $105,000.00
Robert RauschenbAce Venice USA           1977 50" x 36"    nsigned 2221       #######    $2,665,520.00
Robert RauschenbAce Venice USA           1977 72" x 50"     Signed       40   #######     $200,000.00
Robert RauschenbAce Venice USA           1977 72" x 50"    nsigned 1385       #######    $3,462,500.00
Robert RauschenbFeb + Mar                1978 75" x 30"    nsigned 2364        $400.00     $945,600.00
Robert RauschenbAce Canada Cloister Ser1980 50" x 36"       Signed       31   #######       $77,500.00
Robert RauschenbAce Canada Cloister Ser1980 50" x 36"      nsigned 2988        $400.00   $1,195,200.00
Robert RauschenbAce Melrose Cloister 3        27" x 36"     Signed       62   #######      $155,000.00
Robert RauschenbAce Melrose Cloister 3        27" x 36"    nsigned       58    $200.00       $1,160.00
Robert RauschenbAce Los Angeles          1989 60" x 38"    nsigned 2933        $125.00     $366,625.00
Robert Smithson Great Salt Lake, Spiral Jetty 29 1/2" x 33 nsigned       87   #######      $156,600.00
Robert Smithson Asphalt Rundown          1969 39 1/2" x 26 n
                                                           3signed        6   #######        $7,200.00
Robert Smithson Great Salt Lake, Movie Treatme38" x 22"    nsigned       11   #######       $17,600.00
Robert Smithson Movie Treatment Part I        20" x 26"    nsigned        1    $400.00         $400.00
Robert Smithson Movie Treatment Part II       20" x 26"    nsigned        1    $400.00         $400.00
Robert Wilson    Black Panther           2007 48" x 32"     not in stock
Robert Wilson    Horned Frog             2007 48" x 32"     not in stock
Robert Wilson    Snow Owl                2007 48" x 32"     not in stock
Robert Wilson    South American Porcupi 2007 48" x 32"      not in stock
Roger Herman     Woman on RR Tracks 1987 60" x 39 1/2"nsigned 1474             $50.00       $73,700.00
Roger Herman     Ace Los Angeles         1995 24 3/4" x 38"nsigned       80    $50.00        $4,000.00
Roger Herman     Yellow Flowers Ace LA (woodcu88 1/2" x 60"nsigned        3   $600.00        $1,800.00
Roger Herman     Blue Flowers Ace LA (woodcut)88 1/2" x 60"nsigned        3   $600.00        $1,800.00
Roy Lichtenstein Surrealist Paintings    1979 58" x 44"    nsigned 3293       $850.00    $2,799,050.00
Sam Francis      Paintings and Drawings 1979 55" x 40      nsigned 2496       $100.00      $249,600.00
Tara Donovan     A Survey                2005 48" x 36"     not in stock




                                                                                                                25
                  Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24    Desc
                                           Main Document    Page 28 of 65



Tierney Gearon   Frame 22          2009 48" x 36"    Signed        2 $500.00       $1,000.00
Tierney Gearon   Frame 22          2009 48" x 36"   nsigned     2243 $60.00      $134,580.00
Tim Hawkinson    Sonic             2005 48" x 35"   nsigned     1506 $75.00      $112,950.00
                                                     Total #         Total
                                                     of              Worth at
                                                     Poster          Retail
                                                     s:        #### Price:      #########


                                                                     Total
                                                                     Worth
                                                                     at
                                                                     Wholes
                                                                     ale
                                                                     Price: ###########




                                                                                                      26
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 29 of 65




                  EXHIBIT 3
    Case 2:13-bk-14135-RK                 Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24                   Desc
                                           Main Document    Page 30 of 65


   ACE GALLERY POSTER SALES
                      5514 WILSHIRE BOULEVARD · LOS ANGELES · CALIFORNIA · 90036 ·
                       TEL 323.935.4411 · FAX 323.202.1082 · WWW.ACEGALLERY.NET

DISTRIBUTORS,
                  Below is our retail poster price list. For orders of 6 or more posters, you may purchase
          posters at the discounted wholesale price of 50% off of the listed price.

Please fill out and email, mail, or fax to:         Ace Gallery, Poster Department
                                                    5514 Wilshire Blvd
                                                    Los Angeles, CA 90036

 ARTIST                   POSTER                    YEAR      SIZE              NOTES       $ EACH      QTY    TOTAL
 Andy Warhol              American Indian - Black   1976      50" x 34"           Signed    7,500.00
 Andy Warhol              American Indian - Black   1976      50" x 34"         Unsigned    2,500.00
 Andy Warhol              American Indian - Red     1976      50" x 34"           Signed    7,500.00
 Andy Warhol              American Indian - Red     1976      50" x 34"         Unsigned    2,500.00
 Andy Warhol              American Indian - Blue    1977      50" x 34"           Signed    7,500.00
 Andy Warhol              American Indian - Blue    1977      50" x 34"         Unsigned    2,500.00
 Andy Warhol              Torsos                    1977      40" x 28"         Unsigned    800.00
 Andy Warhol              Torsos                    1977      60" x 40"           Signed    10,000.00
 Andy Warhol              Torsos                    1977      60" x 40"         Unsigned    1,200.00
 Andy Warhol              Self Portrait                       42 ½” x 30"       Unsigned    5,000.00
 Carl Andre               Zinc                      2007      29 ½" x 48"         Signed    275.00
 Carl Andre               Zinc                      2007      29 ½” x 48"       Unsigned    50.00
 Charles Fine             Alga                      1987      60" x 31"         Unsigned    50.00
 Charles Fine             Earth & Sky I             2005      52" x 36"           Signed    200.00
 Charles Fine             Earth & Sky I             2005      52" x 36"         Unsigned    50.00
 Date Famers              Date Farmers              2011      39" x 27"           Signed    100.00
 Date Farmers             Date Farmers              2011      39" x 27"         Unsigned    30.00
 David Amico              Drift Trace               2008      48" x 32"           Signed    150.00
 David Amico              Drift Trace               2008      48" x 32"         Unsigned    50.00
 David Hammons            Flashlight Drawing        2002-3    39 ½” x 25"         Signed    3,000.00
 David Hammons            Flashlight Drawing        2002-3    39 ½” x 25"       Unsigned    50.00
 David Hammons            Flashlight Drawing        2002-3    73" x 48"         Unsigned    100.00
 Dennis Hopper            A Survey                  2006      48” x 32”           Signed    600.00
 Dennis Hopper            A Survey                  2006      48" x 32"         Unsigned    50.00
 Ed Moses                 Egg Yolk 4                2012      39" x 27"           Signed    200.00
 Ed Moses                 Egg Yolk 4                2012      39" x 27"         Unsigned    50.00
 H.C. Schink              L.A. Night Series         2004-5    48" x 40"           Signed    225.00
 H.C. Schink              L.A. Night Series         2004-5    48" x 40"         Unsigned    50.00
 Issey Miyake             Making Things             1999-00   40 ½” x 29"       Unsigned    50.00
 Issey Miyake             Making Things             1999-00   75" x 50"         Unsigned    75.00
 Issey Miyake                                       2000      29 ½” x 40"       Unsigned    60.00
 Issey Miyake                                       2000      64 ¼” x 48 ¼”     Unsigned    150.00
 John Millei              Procession                2006      50" x 32"           Signed    100.00
 John Millei              Procession                2006      50" x 32"         Unsigned    40.00
 Jorg Immendorf           Café De Flore             1994      34 ¼” x 26"       Unsigned    125.00
 Lauren Bon               Bees and Meat             2007      72" x 36"           Signed    500.00
 Lauren Bon               Bees and Meat             2007      72" x 36"         Unsigned    60.00
 Laurie Lipton            Augmental                 2012      39" x 27"           Signed    225.00
 Laurie Lipton            Augmental                 2012      39" x 27"         Unsigned    40.00
 Martin Schoeller         Angelina                  2007      52" x 32"            Signed   300.00

 Martin Schoeller         Angelina                  2007      52" x 32"         Unsigned    40.00
 Mary Corse & James
 Turrell                  Ace LA & NYE+Brown        2013      18” x 18”            Signed   100.00
                                                                                                               27
   Case 2:13-bk-14135-RK                Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24             Desc
                                         Main Document    Page 31 of 65


  ACE GALLERY POSTER SALES
                       5514 WILSHIRE BOULEVARD · LOS ANGELES · CALIFORNIA · 90036 ·
                        TEL 323.935.4411 · FAX 323.202.1082 · WWW.ACEGALLERY.NET

 Melanie Pullen          High Fashion Crime Series       2005   52" x 36"         Signed   200.00
 Melanie Pullen          High Fashion Crime Series       2005   52" x 36"       Unsigned   50.00
 Melanie Pullen          Violent Times                   2008   48" x 32"         Signed   200.00
 Melanie Pullen          Violent Times                   2008   48" x 32"       Unsigned   50.00
 Melissa Ketschmer       Plane Series                    2007   48" x 29 ¾”       Signed   200.00
 Melissa Ketschmer       Plane Series                    2007   48" x 29 ¾”     Unsigned   40.00
 Richard Serra           Ace L.A. May-April              1970   32" x 44"       Unsigned   5,000.00
 Robert Graham           The Female Form                 2005   52" x 34"       Unsigned   60.00
 Robert Rauschenberg     Ace Venice USA                  1977   50" x 36"         Signed   5,000.00
 Robert Rauschenberg     Ace Venice USA                  1977   50" x 36"       Unsigned   1,200.00
 Robert Rauschenberg     Ace Venice USA                  1977   72" x 50"         Signed   5,000.00
 Robert Rauschenberg     Ace Venice USA                  1977   72" x 50"       Unsigned   2,500.00
 Robert Rauschenberg     Feb + Mar                       1978   75" x 30"       Unsigned   400.00
 Robert Rauschenberg     Ace Canada Cloister Series      1980   50" x 36"         Signed   2,500.00
 Robert Rauschenberg     Ace Canada Cloister Series      1980   50" x 36"       Unsigned   400.00
 Robert Rauschenberg     Ace Melrose Cloister 3                 27" x 36"         Signed   2,500.00
 Robert Rauschenberg     Ace Melrose Cloister 3                 27" x 36"       Unsigned   200.00
 Robert Rauschenberg     Ace Los Angeles                 1989   60" x 38"       Unsigned   125.00
 Robert Smithson         Great Salt Lake, Spiral Jetty          29 ½” x 33 ½”   Unsigned   1,800.00
 Robert Smithson         Asphalt Rundown                 1969   39 ½” x 26 ¾”   Unsigned   1,200.00
                         Great Salt Lake, Movie
 Robert Smithson         Treatment                              38" x 22"       Unsigned   1,600.00
 Robert Smithson         Movie Treatment Part I                 20" x 26"       Unsigned   400.00
 Robert Smithson         Movie Treatment Part II                20" x 26"       Unsigned   400.00
 Roger Herman            Woman on RR Tracks              1987   60" x 39 ½”     Unsigned   50.00
 Roger Herman            Ace Los Angeles                 1995   24 ¾” x 38"     Unsigned   50.00
 Roy Lichtenstein        Surrealist Paintings            1979   58" x 44"       Unsigned   850.00
 Sam Francis             Paintings and Drawings          1979   55" x 40        Unsigned   100.00
 Tierney Gearon          Frame 22                        2009   48" x 36"       Unsigned   60.00
 Tim Hawkinson           Sonic                           2005   48" x 35"       Unsigned   75.00

                                                                                        Subtotal ______________
                                                  (CA & NY state residents only) 9.25% Sales Tax ______________
                                     ($15 within USA, GLOBAL rates will vary) Shipping Expenses ______________
                                                                               $20 packaging Fee______________
                                                                                           Total ______________
________________________________________________________________________________________________________
Name
________________________________________________________________________________________________________
Address
________________________________________________________________________________________________________
City                          State                        Zip                                Country
________________________________________________________________________________________________________
Phone                         Fax                          Email

Payment Options : Check or Money Order enclosed in the amount of $ ____________ payable to Ace Gallery
 __ Visa               __ MasterCard
________________________________________________________________________________________________________
Card Number                    Exp Date




                                                                                                       28
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 32 of 65




                  EXHIBIT 4
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 33 of 65




                                                                             29
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 34 of 65




                                                                             30
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 35 of 65




                                                                             31
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 36 of 65




                                                                             32
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 37 of 65




                                                                             33
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 38 of 65




                                                                             34
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 39 of 65




                                                                             35
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 40 of 65




                                                                             36
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 41 of 65




                                                                             37
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 42 of 65




                                                                             38
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 43 of 65




                                                                             39
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 44 of 65




                                                                             40
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 45 of 65




                                                                             41
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 46 of 65




                                                                             42
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 47 of 65




                                                                             43
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 48 of 65




                                                                             44
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 49 of 65




                                                                             45
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 50 of 65




                                                                             46
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 51 of 65




                                                                             47
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 52 of 65




                                                                             48
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 53 of 65




                                                                             49
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 54 of 65




                                                                             50
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 55 of 65




                                                                             51
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 56 of 65




                                                                             52
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 57 of 65




                                                                             53
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 58 of 65




                                                                             54
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 59 of 65




                                                                             55
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 60 of 65




                                                                             56
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 61 of 65




                                                                             57
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 62 of 65




                                                                             58
Case 2:13-bk-14135-RK   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24   Desc
                         Main Document    Page 63 of 65




                                                                             59
        Case 2:13-bk-14135-RK                   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24                                      Desc
                                                 Main Document    Page 64 of 65
                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Grand Avenue, Suite 3400, Los Angeles, CA 90071-1406.
                                                        MEMORANDUM OF PLAN AGENT REGARDING
A true and correct copy of the foregoing document entitled (specify):
HEARING SET BY COURT ON DECEMBER 15, 2021 AT 1:30 P.M. ON ORDER TO SHOW CAUSE
RE: CONTEMPT AND EMERGENCY MOTION FOR ORDER REGARDING SALE OF ART
POSTER INVENTORY PURSUANT TO CONFIRMED PLAN OF REORGANIZATION Docket No.
2676) will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 13, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
Simon Aron saron@wrslawyers.com, eweiman@wrslawyers.com
Jason Balitzer jbalitzer@sulmeyerlaw.com, jbalitzer@ecf.inforuptcy.com;dwalker@ecf.inforuptcy.com;kmccamey@sulmeyerlaw.com
Keith Patrick Banner kbanner@greenbergglusker.com, sharper@greenbergglusker.com;calendar@greenbergglusker.com
Brian L Davidoff bdavidoff@greenbergglusker.com, calendar@greenbergglusker.com;jking@greenbergglusker.com
Carolyn A Dye trustee@cadye.com
Fahim Farivar fahim@farivarlaw.com, catherine@farivarlaw.com;lisa@farivarlaw.com
Alan W Forsley alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-lawyers.net,addy.flores@flpllp.com
J. Bennett Friedman jfriedman@flg-law.com, msobkowiak@flg-law.com;cllosa@flg-law.com
Michael I. Gottfried mgottfried@elkinskalt.com
Asa S Hami ahami@sulmeyerlaw.com,
pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;cblair@sulmeyerlaw.com;ahami@ecf.inforuptcy.com
Elliot C Harvey Schatmeier ehs@birdmarella.com, dthrockmorton@birdmarella.com
Matthew P Kelly mkelly@sulmeyerlaw.com
Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
Krikor J Meshefejian kjm@lnbyb.com
Susan I Montgomery susan@simontgomerylaw.com,
assistant@simontgomerylaw.com;simontgomerylawecf.com@gmail.com;montgomerysr71631@notify.bestcase.com
Alan I Nahmias anahmias@mbnlawyers.com, jdale@mbnlawyers.com
Kurt Ramlo kr@lnbyb.com, kr@ecf.inforuptcy.com
Ekwan E Rhow eer@birdmarella.com, blee@birdmarella.com
David J Richardson drichardson@bakerlaw.com, aagonzalez@bakerlaw.com
Ronald Rus rrus@brownrudnick.com, tlangford@brownrudnick.com
David V Sack dsack@sulmeyerlaw.com, dvsack@gmail.com
Victor A Sahn vsahn@sulmeyerlaw.com, pdillamar@sulmeyerlaw.com; pdillamar@ecf.inforuptcy.com;
vsahn@ecf.inforuptcy.com;cblair@sulmeyerlaw.com;cblair@ecf.inforuptcy.com
Michael C Schneidereit mschneidereit@jonesday.com, scollymore@jonesday.com;tckowalski@jonesday.com
David B Shemano dshemano@shemanolaw.com
Jonathan Seligmann Shenson jshenson@shensonlawgroup.com
Mark Shinderman mshinderman@milbank.com, dmuhrez@milbank.com;dlbatie@milbank.com
Michael D Sobkowiak msobkowiak@flg-law.com, jfriedman@flg-law.com;cllosa@flg-law.com
Stephen Sorensen, joseperez@tafsattorneys.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Michael W Vivoli ahobbs@vivolilaw.com, sbrown@vivolilaw.com
Jessica Vogel Jvogel@sulmeyerlaw.com, jvogel@ecf.inforuptcy.com;mviramontes@sulmeyerlaw.com
Howard J Weg hweg@robinskaplan.com
Beth Ann R Young bry@lnbyb.com
Roye Zur rzur@elkinskalt.com, aaburto@elkinskalt.com;myuen@elkinskalt.com


                                                                           Service information continued on attached page.
2. SERVED BY UNITED STATES MAIL:
On (date)    , 2021, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.
                                                                                         Service information continued on attached page.

PMD 2728331v1 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
        Case 2:13-bk-14135-RK                   Doc 2682 Filed 12/13/21 Entered 12/13/21 21:43:24                                      Desc
                                                 Main Document    Page 65 of 65


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 13, 2021, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 The Honorable Robert Kwan
 VIA PERSONAL DELIVERY
 U.S. Bankruptcy Court
 Roybal Federal Building
 255 E. Temple Street
 Suite 1682 / Courtroom 1675
 Los Angeles, CA 90012

                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
   December 13, 2021                        Patricia Dillamar                                    /s/ Patricia Dillamar
   Date                                     Printed Name                                         Signature




PMD 2728331v1 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
